       Case 1:24-cv-03220-DLF          Document 28       Filed 02/21/25      Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 ELI LILLY AND COMPANY

                Plaintiff,

        v.
                                                         Civil Action No. 24-3220 (DLF)
 ROBERT F. KENNEDY, JR, Secretary of
 Health and Human Services, et al.,

                Defendants.


                  MOTION TO ENLARGE THE BRIEFING SCHEDULE

       Pursuant to Rule 6(b), Defendants the Secretary of Health and Human Services and the

Administrator of the Health Resources and Services Administration (“HRSA”) respectfully move

the Court for an order enlarging the summary judgment briefing schedule by thirty days. Plaintiff,

through counsel, opposes the relief sought in this motion. Nonetheless, as demonstrated below,

good cause supports granting this extension.

       On January 2, 2025, the Court entered a briefing schedule ordering that “Plaintiff shall

move for summary judgment on or before February 3, 2025; Defendants shall respond to Plaintiff's

motion and cross-move for summary judgment on or before March 3, 2025; Plaintiff shall file a

response to Defendants' cross-motion and any reply in support of its motion on or before March

17, 2025; and Defendants shall file any reply in support of their cross-motion on or before March

31, 2025.” Plaintiff timely filed their motion for summary judgment on February 3, 2025, but

Defendants require additional time to prepare a cross motion and reply.

       The reasons for this request are twofold: First, HRSA and the Department generally are

undergoing leadership transitions. Because of the wide-ranging impact that the outcome of this
        Case 1:24-cv-03220-DLF          Document 28        Filed 02/21/25     Page 2 of 3




litigation will have on the 340B drug discount program, the Department’s new leadership will

require sufficient time to be briefed on the matters at issue in this lawsuit, ensure that the

Department’s position is consistent with the new administration’s policies, and review a draft of

the brief before filing.

        Second, this case is one of six cases involving manufacturers seeking to provide 340B price

reductions through rebates rather than upfront discounts, all six cases are on substantially similar

briefing schedules. Although each Plaintiff has its own team of lawyers, the undersigned counsel

represents the government in all six cases. The undersigned counsel has made substantial progress

in briefing these issues and there is overlap between the cases, some of the Plaintiffs advance

arguments unique to their own situations. The undersigned counsel requires additional time to

address each of these arguments.

        Accordingly, Defendants request that the Court enlarge the briefing schedule as follows:

Defendants shall respond to Plaintiff's motion and cross-move for summary judgment on or before

April 2, 2025; Plaintiff shall file a response to Defendants' cross-motion and any reply in support

of its motion on or before April 16, 2025; and Defendants shall file any reply in support of their

cross-motion on or before April 30, 2025.

        This is the first time Defendant has sought an extension of the briefing schedule and

granting this extension will cause Plaintiff no prejudice, nor meaningfully delay the resolution of

this case.



                                            *    *     *




                                                 2
      Case 1:24-cv-03220-DLF   Document 28    Filed 02/21/25     Page 3 of 3




Dated: February 20, 2025            Respectfully submitted,

                                    EDWARD R. MARTIN, JR., D.C. Bar #481866
                                    United States Attorney

                                    BRIAN P. HUDAK
                                    Chief, Civil Division


                                    By:           /s/ John J. Bardo
                                          JOHN J. BARDO, D.C. Bar #1655534
                                          Assistant United States Attorney
                                          601 D Street, NW
                                          Washington, DC 20530
                                          (202) 870-6770

                                    Attorneys for the United States of America




                                     3
